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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 1:21-cv-21079-BB


  SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,
  v.

  MINTBROKER INTERNATIONAL, LTD.,
  f/k/a SWISS AMERICA SECURITIES LTD.
  and d/b/a SURETRADER, and
  GUY GENTILE, a/k/a GUY GENTILE NIGRO,

         Defendants.



                             DEFENDANT GUY GENTILE’S
                      UNOPPOSED MOTION FOR EXTENSION OF TIME

        Defendant Guy Gentile hereby requests an extension of time until July 13, 2022, to file

 his Reply in further support of his Motion for Sanctions and states:

        1.      On June 3, 2022, Defendant Gentile moved pursuant to Rule 37, Rule 41, and the

 Court’s inherent authority to dismiss the action based on what Gentile alleges is blatant

 discovery abuse by Plaintiff Securities and Exchange Commission (“the SEC”) (“Motion for

 Sanctions” or “Motion”) [ECF No. 86].

        2.      On June 16, 2022, the SEC sought a ten-day extension of its time to respond to

 the Motion for Sanctions [ECF No. 87]. Gentile did not oppose the SEC’s request for an

 extension, and it was granted the same day [ECF No. 88].

        3.      Gentile’s Reply in further support of his Motion for Sanctions is due July 5, 2022,

 and the Court has scheduled a hearing on the Motion for August 1, 2022.
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          4.       Gentile respectfully requests an eight-day extension of time until July 13, 2022, to

 file his Reply.

          5.       The request for extension of time is made in good faith and not for purposes of

 delaying the case. No party will be prejudiced by the proposed extension, and Gentile

 respectfully submits that the Court will still have adequate time to review the papers in advance

 of the hearing on August 1, 2022.

          WHEREFORE, Gentile respectfully requests an extension of time until July 13, 2022, to

 file his Reply in further support of his Motion for Sanctions.

                                  CERTIFICATE OF CONFERRAL

          Pursuant to Local Rule 7.1(a)(3), counsel for Gentile conferred with counsel for the SEC

 and the SEC does not object to the relief sought in this Motion.

 Dated:     June 30, 2022

                                                          /s/ Dayliset Rielo
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                                                         Counsel for Defendant Guy Gentile




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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was served this 30th

 day of June 2022 via CM-ECF on all counsel.


                                                                 /s/ Dayliset Rielo
                                                                Dayliset Rielo, Esq.
